2210270-CM161-1650980179617.pdf



                                                     CERTIFICATE OF SERVICE


 DEBTOR 1 NAME: Karie A Simmons                                                                                CASE NUMBER: 2210270-
 DEBTOR 2 NAME:                                                                                                CM161-1650980179617.pdf
 I       Robert J Wallace, Jr.     certify under penalty of perjury that I have served the attached document on the below
 listed entities in the manner shown on     4/27/2022 :

 By First Class Mail :
Karie A Simmons,11127 NE 162nd St,Bothell WA 98011




 Via ECF on the date the pleading was filed:
 Debtor's Attorney

 I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
 and belief.

 Date :     4/27/2022                       Signature : ________________________________________
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                                                                                  Ent.  04/27/22         08:07:34        Pg. 1 of 6
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